     Case 2:17-cv-00359-CBM-JC Document 48 Filed 01/24/19 Page 1 of 4 Page ID #:184




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8
9                              UNITED STATES DISTRICT COURT
10                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                     WESTERN DIVISION
12
      Matt Salnick,                                    Case No. 2:17-CV-0359-CBM(JC)
13
                  Plaintiff,                           MOTION TO EXTEND UNITED
14                                                     STATES’ REVIEW PERIOD BASED ON
                  v.
15                                                     LAPSE OF APPROPRIATIONS
      Ameron Pole Products, LLC,
16
                  Defendant.
17
18
19
20          The United States hereby moves for an extension of the United States’ review

21    period based on a lapse of appropriations.
22          1.    Congress, in the Clean Water Act, requires parties settling citizen suit
23    claims to submit any consent judgment to the United States Department of Justice and
24    the United States Environmental Protection Agency, and provides a forty-five day
25    review period. 33 U.S.C. § 1365(c)(3).
26          2.    Pursuant to this provision, on December 12, 2018, parties to this action
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      submitted a consent judgment for the United States’ review. The federal review period
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     Case 2:17-cv-00359-CBM-JC Document 48 Filed 01/24/19 Page 2 of 4 Page ID #:185




1     is scheduled to end on January 28, 2018.
2           3.       At the end of the day on December 21, 2018, the appropriations act that had
3     been funding the U.S. Department of Justice expired and appropriations to the
4     Department lapsed. The same is true for other Executive Branch agencies, including the
5     U.S. Environmental Protection Agency. The Department of Justice does not know when
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      funding will be restored.
7
            4.       Absent an appropriation, Department of Justice attorneys and EPA
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      employees are prohibited from working, even on a voluntary basis, except in very
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      limited circumstances, including “emergencies involving the safety of human life or the
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      protection of property.” 31 U.S.C. § 1342.
11
12          5.       This prohibition has prevented the Department of Justice and EPA from

13    coordinating review of the parties consent judgment in this case.

14          6.       The United States therefore requests an extension of our review period.
15    Specifically, the United States requests that the review period end thirty-five days after
16    the date when Congress has restored appropriations to the Department of Justice and its
17    attorneys are permitted to resume their usual civil litigation functions.
18          7.       If this motion is granted, undersigned counsel will notify the Court when
19    funds have been appropriated for the Department.
20
            8.       Evan Jason Smith, plaintiff’s counsel, and Amanda Semaan, defendant’s
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      counsel, have informed undersigned counsel their clients take no position with respect to
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      this motion.
23
            Respectfully submitted,
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     Case 2:17-cv-00359-CBM-JC Document 48 Filed 01/24/19 Page 3 of 4 Page ID #:186




1          January 24, 2019.
                                           United States Department of Justice
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3
                                              /s/ Matthew R. Oakes
4                                          MATTHEW R. OAKES
                                           Attorney Advisor
5                                          United States Department of Justice
                                           Environment and Natural Resources Division
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                                           Law and Policy Section
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     Case 2:17-cv-00359-CBM-JC Document 48 Filed 01/24/19 Page 4 of 4 Page ID #:187




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2                                      PROOF OF SERVICE
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4     On this 24th day of January 2019, this MOTION TO EXTEND UNITED STATES’
      REVIEW PERIOD BASED ON LAPSE OF APPROPRIATIONS was served on counsel
5
      of record by electronic filing.
6
7     I declare under penalty of perjury that the foregoing is true and correct.
8
9     Executed on the 24th day of January 2019.
10
11                                            /s/ Matthew R. Oakes           .
12                                            Matthew R. Oakes, Attorney
                                              United States Department of Justice
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